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                       EXHIBIT 10
    DECLARATION OF FITZANN R. REID




        9/30/2020 BANK STATEMENT
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                                                                                        Page       1 of 2

                                                                             Account Number:
                                                                             Date              09/30/20




          Silvergate Bank's De posit Account Agreement and Regulatory Disclosure
          ("DAARD") has been update d to reflect recent increases in our Funds
          Availability Policy (Pages 4-6) and the removal of the six-per-month
          limit on transfers and withdrawals from savings and mone y market
          accounts (Pages 10-11) . For more information , the DAARD can be accessed
          on our website at https : //                         under " Disclosures "
          at the bottom of the web page .
          Should you have any questions , please contact us at 800-595-5856 .

                              STATEMENT SUMMARY AS OF 09/30/20
         Account Name                     Account Number                                    Balance
         F:INTECH HEDGE FUND                                                             455 ,610 .21

 IVQR MULTISTRATEGY us FEEDER LP           FINTECH HEDGE FUND                 ACCT

                            Summary of Activity Since Your Last Statement


                   Beginning Balance              9/01/20             1,690,259.89
                   Deposits/ Misc Credits              5                805,610.21
                   Withdrawals / Misc Debits            1             2,040,259.89
                ** Ending Balance                 9/30/20               455,610.21 **
                   Service Charge                                              .00


 Deposits and Other Credits
 Date         Amount       Activity Description
 9/02     250,000.00
 9/02     100,000.00
                           ORIG:ANURAJ DUA
 9/08      33,610.21
                           ORIG:MILLENNIUM TRUST COMPANY LLC
 9/18     400,000.00
                           ORIG:SILICON VALLEY BANK - PB WIRE CLEAR
 9/28      22,000.00
                           ORIG:ANDREW J LEAHY

 Debits and Other Withdrawals
 Date        Amount        Activity Description
 9/02    2,040,259.89
         Case 1:20-cv-10849-JGLC Document 7-10 Filed 12/23/20 Page 3 of 5

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                                                                       Page      2 of 2

                                                              Account Number: - -
                                                              Date             09/30/20




 Daily Balance Summary
 Date               Balance    Date             Balance       Date             Balance
 9/02                    .00   9/18          433,610.21
 9/08             33,610.21    9/28          455,610.21
1/1 Silvergate
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Account Number                  Date   09/30/2020                   PAGE   3 of2
                                                                             Case 1:20-cv-10849-JGLC Document 7-10 Filed 12/23/20 Page 5 of 5




    SILVERGATE BANK BUSINESS DEPOSIT ACCOUNT MASTER AGREEMENT

    TITLE OF ACCOUNT                                                                                                REFER TO PAGE TWO FOR A LIST OF ACCTS OPENED UNDER THIS
    VQR MULTISTRATEGY US FEEDER LP                                                                                  MASTER AGREEMENT

                                                                                                                    ACCOUNT TIN

                                                                                                                    DATE              7/18/2019                 OPENED BY RANDY HA
    OWNERSHIP TYPE               LIMITED PARTNERSHIP
                                                                                                                    AMOUNT OF DEPOSIT $

    OFFICER #1 INFORMATION                                                                                           OFFICER #2 INFORMATION

    NAME:      STEFAN HE QIN                                                                                        NAME: JUSTIN LEDBETTER

    TAX ID NUMBER:                                                                                                  TAX ID NUMBER:
    OFFICER #3 INFORMATION                                                                                          OFFICER #4 INFORMATION

    NAME:      XXXXXXXXXXXXXXXX                                                                                     NAME:              XXXXXXXXXXXXXXXX
    TAX ID NUMBER: XXX-XX-XXXX                                                                                      TAX ID NUMBER:                XXX-XX-XXXX


    TAX REPORTING INFORMATION
    Taxpayer Identification Number:

    Name of Person or entity whose TIN is listed above: VQR MULTISTRATEGY US FEEDER LP

    Under penalties of perjury, I certify that: (1) the number shown on this form is the entity's correct Taxpayer Identification Number {or I am waiting for a number to be issued to
    me), and (2) I am not subject to backup withholding because: (a) I am exempt from backup withholding, or {b) I have not been notified by the Internal Revenue Service (IRS)
    that I am subject to backup withholding as a result of failure to report all interest or dividends, or (c) the IRS has notified me that I am no longer subject to backup \J\/ithholding,
    and (3) I am a U.S. person (including a resident alien).
    CERTIFICATION INSTRUCTIONS. You must cross out item 2 above if you have been notified by the IRS that you are currently subject to backup withholding because you
    have failed to report all interest and dividends on your tax return.
        If you are not a U.S. Person (including a Resident Alien), please check here and complete and sign the applicable form(s) W-SBEN(ECI) for each beneficial owner. All
    joint owners must be non-resident aliens under United States tax law for this to apply.
    The Internal Revenue Service does not require your consent to any provisions of this document other than the certifications required to avoid backup withholding.
     WB BENE ON FILE

    SIGNATURE

    Business Resolution

    RESOLVED that this organization establish one or more deposit accounts with Silvergate Bank ~the Bank) and that this organization adopts for each
    account the Authorization in the Bank's agreement titled Silvergate Bank Deposit Account Agreement and Regulatory Disclosure. RESOLVED that the
    persons whose names and titles appear below are each authorized, acting alone, to establish for this organization one or more deposit accounts now
    and additional accounts from time to time, and to designate persons to operate each account.

    Secretary Certification

   I certify this resolution was adopted by this organization in accordance with law and its charter documents, and is now in force. I certify that the persons
   whose names, titles, and signatures appear below are authorized to establish accounts for this organization and to designate persons to operate each
 ..&...<>£D~fitsigh€'~fy that each person who has signed below is authorized to operate each account established under this Agreement. I certify all of the
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                                                                       STEFAN HE QIN                                Date
    Notice to Commercial Customer: In accordance with the requirements of the Unla'Nful Internet Gambling Enforcement Act of 2006 and Regulation GG, this notice is to
    inform you that restricted transactions are prohibited from being processed through your account or relationship with our Bank. Restricted transactions are transactions in
    which a person accepts credit, funds, instruments or other proceeds from another person in connection with unlawful Internet gambling. By signing below you certify that the
    business does not engage in unla'Nful Internet gambling.

 ACKNOWLEDGEMENT
 You begin or continue a deposit account relationship with Silvergate Bank by giving us information about your business and by signing below. The written information we give
 you, including the Deposit Account Agreement and Regulatory Disclosure, Rate Schedule, and Schedule of Fees and Charges, is part of your agreement with us and tells you
 the current terms for each account you open with us. We may change the Agreement at any time. You acknovvtedge receipt of the Agreement. Each person who signs below
 may operate this account; this includes the authority to sign checks and other items and to give us other instructions to withdraw funds, to endorse and deposit checks and
 other items payable or belonging to any signer, to add new services, to designate additional signers on the Authorized Signer Card and to transact other business relating to
 the account. Silvergate Bank may pay out funds on any one of the signatures below and on the Authorized Signer Card, as amended from time to time. All information
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    Date


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    Signer Signature /Title                                                                                         Signer Signature /Title                                               Date
    Date




    OP0-136.doc                                                                                                                                                                 REV. 03.15.15
